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Ronald V. Dellums Federal Building
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1301 Clay Street
Oakland, CA 94612


        Re:     College Athletes NIL Litigation (No. 4:20V-03919 (N.D. Cal)

Dear Judge Wilken:

          We write to you anew, having previously submitted an objection on behalf of class members (Dkt.
655), to call upon the Court to enjoin the NCAA from taking any action related to the proposed settlement
unless and until the court approves it. Through this letter, we alert the Court that the NCAA has recently
informed all Division I schools that they have a deadline of March 1, 2025 to declare whether they will opt
in to the proposed settlement and commit to all of its terms—including roster limits—even though the
settlement has yet to obtain final approval. In our view, the NCAA’s action is improper and should be
enjoined. On information and belief, Division I schools are already cutting athletes in advance of this new,
artificial March 1 deadline.

         The NCAA’s premature attempt at a fait accompli is causing new harm. Some of our clients, and
likely thousands of other roster limit-impacted athletes, enrolled this spring semester with the expectation
of having an opportunity to prove their merit to earn a roster spot before the announced April 7th settlement
decision by this Court. However, the NCAA’s preemptive action has effectively and unfairly accelerated
the roster cut date to March 1st.

        Requiring schools to opt in to roster limits before the Court has even ruled on the many filed
objections is putting the proverbial cart before the horse and places athletes at an even greater risk of being
cut from their teams before the settlement has been approved. Once these athletes are cut from their teams,
the harm is irreparable. Thus, we respectfully request that the Court order an immediate injunction pursuant
to the All Writs Act and F.R.C.P 23(d) to prevent the NCAA from imposing its unilateral March 1, 2025
deadline on schools until the Court has an opportunity on April 7th to rule on the objections to the proposed
settlement and either grants or denies final approval.
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I.                                        Relevant Background

         As the Court is aware, a hearing is set for April 7, 2025 to determine whether the proposed
settlement should be granted final approval. To date, numerous class members have objected to roster
limits arguing inter alia that roster limits harm class members and create irreconcilable intra-class conflicts
(“the unrepresented sub-class”). For example, in addition to our objection and those of many others, the
MoloLamken firm submitted objections to roster limits on behalf of 159 athletes, all of whom submitted
affidavits detailing the concrete harm they have suffered or are expected to suffer due to the settlement’s
proposed roster limits. See, e.g., Dkt. 628-3, 628-5. There are likely many more athletes who are or could
be harmed by the imposition of roster limits but did not object for various reasons including fear of
retribution and lack of information from the NCAA. See Dkt. 655 at 3. Notably, that intra-class conflicts
have been highlighted in the numerous objections signifies that their distinct interests have not been fairly
and adequately represented. 1

        Notwithstanding the numerous objections from members of the unrepresented sub-class, on or
around February 12, 2025, the NCAA sent a memorandum to Division I schools notifying them of a March
1, 2025 deadline to declare whether they will opt in to the proposed settlement including all of its terms.
See Ex. A. Indeed, the NCAA published guidance stating that “Schools must notify the NCAA it will opt
in by March 1” and that by opting in, “your school is bound by new roster sizes.” See Ex. B. Respectfully,
March 1, 2025 is a curious deadline to require schools to opt in since it is well before the April 7, 2025
hearing date and the NCAA’s March 3, 2025 deadline to file a motion for final approval and respond to the
numerous objections to roster limits. We do not believe the timing here is unintentional.

II.                                       This Court Should Enjoin the NCAA From Requesting Any School to Declare Its Intent to
                                          Opt In to a Settlement That Has Not Been Approved and That Could Harm Class Members

        It is improper for the NCAA to require schools to declare their intent to opt in to the proposed
settlement before this Court has ruled on the objections to roster limits and either granted or denied final
approval of the settlement. The NCAA’s actions are creating an even greater risk that class members will
be prematurely cut from their teams. Critically, once a class member is cut from their team, the chance of
returning back to the team if roster limits are overruled is highly unlikely.

         Thus, the Court should exercise its authority under the All Writs Act and F.R.C.P. 23(d) to enjoin
the NCAA’s conduct until the objections are ruled upon and the Court either grants or denies final approval.
The All Writs Act provides: “The Supreme Court and all courts established by Act of Congress may issue
all writs necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages and
principles of law.” 28 U.S.C. § 1651(a). “The power conferred by the [All Writs] Act extends, under
appropriate circumstances, to persons who (though not parties to the original action or engaged in
wrongdoing) are in a position to frustrate the implementation of a court order or the proper administration
of justice.” United States v. New York Tel. Co., 434 U.S. 159, 160 (1977). Even before a federal judgment


1
 Notably, no athlete, even those facing roster cuts, is permitted to opt out of the Injunctive Relief Class. Hence, the
unrepresented sub-class would be bound by the proposed settlement even if harmed.
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is reached, the preservation of the federal court’s jurisdiction or authority over an ongoing matter may
justify an injunction.” In re Baldwin-United Corp. (Single Premium Deferred Annuities Ins. Litig.), 770
F.2d 328, 335 (2d Cir. 1985). 2

         Here, the NCAA is peremptorily acting without final approval of the settlement thereby frustrating
the proper administration of justice—i.e., the Court’s ability to properly consider and rule upon all the
objections to the proposed settlement—and undermining the integrity of the final approval process.
Importantly, as mentioned above, the March 1, 2025 deadline is before the NCAA’s March 3, 2025 deadline
to file a motion for final approval and provide responses to all objections. By imposing a deadline on
schools to commit to the settlement before the March 3, 2025 response deadline, the NCAA has not only
ignored the hundreds of objections filed against roster limits but is acting as if no objections were raised at
all. Meanwhile, any class members who are cut due to the NCAA’s conduct will have experienced the very
irreparable harm they complained of in their objections without any administration of justice. An injunction
is therefore necessary to prevent harm to class members until the Court has ruled on the proposed settlement.

        We thank the Court for its time and consideration of this important issue. We welcome the
opportunity to further brief this issue if the Court so desires. If further briefing is requested, we ask that the
Court issue a temporary injunction and/or stay in the interim so as to prevent any harm to class members
caused by the NCAA’s unilateral March 1, 2025 deadline.

                                                                      Sincerely,

                                                                      BUCHALTER
                                                                      A Professional Corporation



                                                                      Douglas M. DePeppe




DMD:mt



2
 Indeed, in a particularly speedy action, a court issued an injunction in one day to preserve its role in a complex
class action when ancillary legal actions threatened the court’s role in the settlement. See In re Piper Funds, Inc.,
Institutional Gov't Income Portfolio Litig., 71 F.3d 298, 300 n.2 (8th Cir. 1995).
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          NCAA Division I Educational Resource
          House Settlement: Opting In
                      APPLIES TO ALL DIVISION I SCHOOLS
                      1. Division I schools are permitted but not required to provide new benefits (e.g.,
                         direct name, image and likeness (NIL) payments, scholarships above limits
                         permitted in the 2024-25 Division I manual) to student-athletes made available
                         through the settlement. For schools that opt in, each school may determine the
                         level of benefits to provide up to the limit set forth in the settlement.

                      2. General release of legal claims by student-athletes against NCAA, conferences
                         and Division I schools.

                      3. All scholarships will be converted to equivalencies and for all schools that opt in,
                         NCAA Division I scholarship limits will be eliminated.

                      4. All student-athletes must report third-party NIL deals worth $600 or over.

                      STEP ONE: DETERMINE WHETHER YOUR SCHOOL OPTS IN*
                      Does your school plan to provide payments or additional scholarships made
                      available through the settlement?
                                       YES                                                                NO
                      Your school is opting in.
                                                                                                                   Your school will not
                                                                                                                    provide direct NIL
                      In this scenario, your school is bound by new roster sizes
                                                                                                                     payments to any
                      and should determine which benefits it will provide to
                                                                                                                    student-athletes.
                      student-athletes. Continue to step two.
                      *Schools must notify the NCAA it will opt in by March 1 of each year,
                      beginning March 1, 2025.                                                                       Your school will
                                                                                                                   not exceed current
                                                                                                                  Division I scholarship
                      STEP TWO: PROVIDING BENEFITS                                                                 limits in any sport
                      Determine the level of benefits your school provides to                                   outlined in the Division I
                      student-athletes.                                                                          2024-25 rules manual.
                                          Examples of opting in
                         Your school            Your school                 Your school                             Your school may
                           provides           does not provide              exceeds the                              provide Alston
                         educational           any additional               equivalency                          payments up to $5980
                       incentives and            benefits or                 maximum                              per student-athlete.
                         graduation             scholarships              in any sport in
                         bonuses to            but wants the               the Division I
                           student-             flexibility to               2024-25                              If your school plans to
   QR code to the
   comprehensive         athletes in               provide                 rules manual.                             provide direct NIL
question-and-answer
                         addition to             additional                                                        payments to student-
      document
     for schools.          existing              benefits or                                                     athletes or your school
                                                                           Your school                                exceeds current
                            Alston              scholarships                 provides
                          payments                during an                                                      equivalency maximums,
                                                                            direct NIL                           your school is opting in.
                          capped at               academic                payments to
                            $5980.                  year.               student-athletes.


                                                                                        NCAA is a trademark of the National Collegiate Athletic Association. Winter 2025.
